Case 2:04-CV-02396-SHI\/|-tmp Document 26 Filed 04/19/05 Page 1 of 2 Page|D 33

    

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IN THE UNITED STATES DISTRICT COURT `"/

FoR THE wEsTERN DISTRICT oF TENN§]¢SS _` , _
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W.D. orr TN, MEMPHrS

SAMMIE L. NETTERS, JR., et al.,
Plaintiffs,
Vo

No. 04-2396 Ma/V

TENNESSEE DEPT. OF CORRECTION,
et al.,

Defendants.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the plaintiffs’ April 15, 2005 motion
requesting an extension of time Within which to file a response
to the show cause order, filed April 5, 2005.

For good cause shown, the motion is granted. The plaintiffs
shall have additional time to and including April 25, 2005, in
which to file a response.

lt is so ordered this

/_g_n__` day cf April, 2005.

GMWWL__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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ESSEE

 

John H. Sinclair

ATTORNEY GENERAL'S OFFICE
P.O. BOX 20207

Nashville, TN 37202--020

Paul J ames Springer

LAW OFFICE OF PAUL J. SPRINGER
100 N. Main Bldg.

Ste. 301 5

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

